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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

T.W., a minor, by and through his                No. 4:20-CV-01688
father, THOMAS WALTMAN, and his
mother, KAREN WOJTOWICZ,                         (Judge Brann)
THOMAS WALTMAN, individually,
and KAREN WOJTOWICZ,
individually,

            Plaintiffs,

      v.

SOUTHERN COLUMBIA AREA
SCHOOL DISTRICT,

           Defendant.

                                   ORDER

     AND NOW, this 25th day of September 2020, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

     1.    Plaintiffs’ Motion for a Temporary Restraining Order, Doc. 3, is

           DENIED.

     2.    The parties are again reminded that a Preliminary Injunction Hearing

           is scheduled for October 15, 2020.


                                          BY THE COURT:


                                          s/ Matthew W. Brann
                                          Matthew W. Brann
                                          United States District Judge
